       Case 1:21-cr-00623-CRC Document 121-13 Filed 05/24/23 Page 1 of 1


10 May 2023

10 Ells Rd.
Hampstead, NH 03841

Honorable Christopher Cooper
U.S. District Court
333 Constitution Avenue NW
Washington, DC 20001
Case#;1:21-cr-00623-CRC-2

Dear Judge Cooper:

My wife and I are writing to you today on behalf of Kirstyn Niemla of Hudson, NH requesting leniency.

Our names are Rendle and Barbara Gallant of 10 Ells Rd., Hampstead, NH 03841. We met Kirstyn about a
year ago and socialize with her about once a week.

Ms. Niemela came into our lives through a mutual friend. She quickly offered her assistance with fixing
all things mechanical. Ms. Niemla is very talented when it comes to creative problem solving,
construction, electrical, and mechanical systems. She generously offers her time and talents when we
have challenges beyond our technical abilities. Throughout the year she has frequently stopped by to
assist others but most importantly her mother. When her mom ran out of fuel oil this winter Ms.
Niemla reached out for assistance for her mom, as well as contributing personally. She maintains her
mom’s home regularly. She also contributes financially to her mom’s wellbeing. If Ms. Niemela is not
available to her mom we fear it would create a significant hardship for her family.

Ms. Niemla has been a friend to animals. She has fostered some of the most challenging breeds of dogs
and found them appropriate homes. She has reached out to homeless individuals offering shelter,
meals, and assisted them in finding employment in the community. Ms. Niemela has assisted friends
with numerous projects around their homes and provided a generator to a family during a power outage
in central New Hampshire this winter. Ms. Niemla is a very driven young lady and works very hard to
earn a living and make her way in the world. She is an accomplished construction worker and has
learned on the job the carpentry skills as well as electrical skills that make her a valuable employee. She
has proven day in and day out that she can work long hours in the New England climate without
wavering in her responsibilities.

We are requesting that you take into consideration Ms. Niemla’s responsibility to her mother, kindness
and generosity to others, and necessity to maintain a steady income when making your decision.

We appreciate your time and consideration in this matter and welcome any additional questions you
may have.

Respectfully Submitted,




Rendle Gallant, Cpt. FA NHARNG Ret.                              Barbara Gallant, MEd
